           Case 4:17-cr-00045-RAJ-RJK Document 1 Filed 03/10/17 Page 1 of 1 PageID# 1
AO91 (Rev. It/11) Criminal Complaint


                                    United States District Court
                                                                for the
                                                                                                                       MAR 1 0 2017
                                                    Eastern District of Virginia
                  United States of America
                              V.
                                                                                                           CLERK, U.S. DiSTRlCT COURT
                                                                                                                         NOPFOLK. VA

              JOSEPH JAMES CAIN BENSON                                    Case No. 4:17mj 3|



                         Defendanl(s)


                                                 CRIMINAL COMPLAINT

          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                  March 13.2009                 in the county of            Newport News               in the

        Eastern       District of             Virginia         , the defendant(s) violated:

            Code Section                                                     Offense Description
18 U.S.C. Section 924{j)                       Murder with a Firearm




          This criminal complaint is based on these facts:

See attached Affidavit.                                                               Reviewed by;


                                                                                      Howard ZIotnick, ^naging       A
                                                                                                         naging U.S. Attorney

          Sf Continued on the attached sheet.


                                                                                              l^omplainant '^st^atKre
                                                                                    Liza A. Ludovico, Special Agent, FBI
                                                                                                Printed name and title


Sworn to before me and signed in my presence.


Date:             03/10/2017
                                                                                                            gnaltire


City and state:                        Norfolk, Virginia                       Lawrence R. Leonard. U.S. Magistrate Judge
                                                                                                Printed name and title
